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    14
                                    UNITED STATES DISTRICT COURT
    15
                     CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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    17
         MICHAEL LAVIGNE, et al.,                 CASE NO. 2:18-cv-07480-JAK (MRWx)
    18
                           Plaintiffs,            [Related Case 2:13-cv-02488-BRO-RZ]
    19
                     vs.                          JOINT STIPULATION FOR
    20                                            RESCHEDULING OF HEARING ON
         HERBALIFE LTD., et al.,                  PLAINTIFFS’ MOTION FOR
    21                                            REVIEW OF NON-DISPOSITIVE
                           Defendants.            RULINGS, HERBALIFE’S MOTION
    22                                            FOR SUMMARY JUDGMENT, AND
                                                  THE PARTIES’ DAUBERT
    23                                            MOTIONS
    24
                                                  [Filed concurrently with [Proposed]
    25                                            Order]
    26                                            Assigned to Hon. John A. Kronstadt,
                                                  Courtroom 10B
    27
    28
         3715780.1
            JOINT STIPULATION FOR RESCHEDULING OF HEARING ON PLAINTIFFS’ MOTION FOR REVIEW,
             HERBALIFE’S MOTION FOR SUMMARY JUDGMENT, AND THE PARTIES’ DAUBERT MOTIONS
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     1        Pursuant to Local Rule 7.1, Defendant Herbalife International of America, Inc.
     2 (“Herbalife”), and Plaintiffs Patricia Rodgers, Jennifer Ribalta, and Izaar Valdez
     3 (“Plaintiffs”), by and through their respective counsel of record, hereby stipulate as
     4 follows:
     5               WHEREAS, the parties have several motions scheduled to be heard on
     6 September 13, 2021, namely Plaintiffs’ Motion for Review of Non-Dispositive
     7 Rulings (Dkt. No. 309), Herbalife’s Motion for Summary Judgment (Dkt. No. 322),
     8 and the parties’ Daubert motions (Dkt. Nos. 323, 324, 325, 326, 327, 328, 329, 330)
     9 (the “Outstanding Motions”);
    10        WHEREAS, Plaintiffs’ lead counsel, Etan Mark, is currently in trial in the
    11 Eleventh Judicial Circuit in and for Miami-Dade County, Florida, in Clark
    12 Construction Group, LLC v. The City of Miami Beach, Florida (Case No. 2020-
    13 002129-CA-01), is scheduled to be in trial on September 13, 2021, and is expected to
    14 be in trial through and including October 22, 2021.
    15        WHEREAS, upon meeting and conferring, Herbalife has agreed to
    16 accommodate Mr. Mark’s trial schedule and the parties respectfully request that the
    17 hearings on the Outstanding Motions be reset to November 1, 2021, or the Court’s
    18 next available hearing date;
    19 IT IS HEREBY STIPULATED AND AGREED AS FOLLOWS:
    20          (1) The parties jointly request that the Court continue the hearings on
    21               Plaintiffs’ Motion for Review of Non-Dispositive Rulings (Dkt. No.
    22               309), Herbalife’s Motion for Summary Judgment (Dkt. No. 322), and the
    23               parties’ Daubert motions (Dkt. Nos. 323, 324, 325, 326, 327, 328, 329,
    24               330) to November 1, 2021, or the Court’s next available hearing date;
    25          (2) Alternatively, the parties jointly request that the Court set a status
    26               conference, at its convenience, to discuss rescheduling the hearing
    27               date(s) on the Outstanding Motions and other case scheduling matters.
    28        Local Rule 5-4.3.4(a)(2)(i) Compliance: Filer attests that all other signatories
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          JOINT STIPULATION FOR RESCHEDULING OF HEARING ON PLAINTIFFS’ MOTION FOR REVIEW,
           HERBALIFE’S MOTION FOR SUMMARY JUDGMENT, AND THE PARTIES’ DAUBERT MOTIONS
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     1 listed concur in the filing’s content and have authorized this filing.
     2 DATED: September 8, 2021
                                             Mark Migdal & Hayden
     3
     4                                       By: /s/ Etan Mark
     5                                           Etan Mark
                                                 Attorneys for Plaintiffs Patricia Rodgers,
     6
                                                 Jennifer Ribalta, and Izaar Valdez
     7
     8
         DATED: September 8, 2021            Mark T. Drooks
     9                                       Paul S. Chan
    10                                       Gopi K. Panchapakesan
                                             Jon M. Jackson
    11                                       Bird, Marella, Boxer, Wolpert, Nessim,
    12                                       Drooks, Lincenberg & Rhow, P.C.

    13
                                             By: /s/ Paul Chan
    14
                                                  Paul S. Chan
    15                                            Attorneys for Defendant Herbalife
    16                                            International of America, Inc.

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           JOINT STIPULATION FOR RESCHEDULING OF HEARING ON PLAINTIFFS’ MOTION FOR REVIEW,
            HERBALIFE’S MOTION FOR SUMMARY JUDGMENT, AND THE PARTIES’ DAUBERT MOTIONS
